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                                   MINUTES



 CASE NUMBER:           1:16-cv-00347 JMS-RLP
 CASE NAME:             Atooi Aloha, LLC by Millicent Andrade and Craig B. Stanley,
                        Its Managing Members, et al. v. Abner Gaurino, et al.
 ATTYS FOR PLA:         Alberto J. Campain
                        Dennis W. Chong Kee
 ATTYS FOR DEFT:        Charles A. Price
                        William J. Plum
                        John R. Remis Jr.
                        Wayne P. Nasser
                        Pamela Schell


      JUDGE:      J. Michael Seabright        REPORTER:        Cynthia Fazio

      DATE:       01/22/2018                  TIME:            9:00am-9:45am


COURT ACTION: EP: Hearing on Various Motions for Summary Judgment [164],
[166], [191], and [202] was held.

Oral arguments heard.

9:20 a.m. Thomas Yano, Esq., attorney for Defendant Cristeta Owan arrives. Discussion
held with Mr. Yano.

[164] Defendant Apt-320, LLC’s Motion for Summary Judgment and for Interlocutory
Decree of Foreclosure - GRANTED. The parties shall meet and confer regarding Order
addressing process of foreclosure of the property.

[166] Defendants Fidelity National Title & Escrow Of Hawaii, Inc. and Rommel
Guzman’s Motion For Summary Judgment on All Claims Asserted by Plaintiffs Against
Fidelity and Guzman in The First Amended Complaint [#30], filed on 5/8/17 -
GRANTED
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[191] Gaurino Defendants’ Joinder to Defendants Fidelity National Title & Escrow of
Hawai‘i , Inc. and Rommel Guzman’s Motion for Summary Judgment on All Claims
Asserted by Plaintiffs Against Fidelity and Guzman in the First Amended Complaint
[#30], filed on 5/8/17 - DENIED

[202] Defendant Cristeta C. Owan’s Motion for Summary Judgment on All Claims
Asserted by Plaintiffs Against Cristeta Owan in the First Amended Complaint [Dos.#30]
filed on 5/8/17 and All Claims Asserted by Cross-Defendant Apt 320, LLC (Doc. #40]
filed on 6/2/17 and All Claims Asserted by Cross Defendant by Fidelity National Title &
Escrow [Doc #46], filed on 6/5/2017 - DENIED

Court to issue a written order.




Submitted by: Shelli Mizukami, Courtroom Manager
